O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT COURT
                                                                           for the
                                                        Western District of North Carolina

                     United States of America                                )
                                v.                                           )
                                                                             )   Case No: 5:07CR23-06
                          Katrina Dette Ikard
                                                                             )   USM No: 21307-058
Date of Previous Judgment: 10/7/08                                           )   Pro Se
(Use Date of Last Amended Judgment if Applicable)                            )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of x the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.  GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of             months is reduced to                           .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    23                Amended Offense Level:                                              23
Criminal History Category: III               Criminal History Category:                                          III
Previous Guideline Range:  120 to 120 months Amended Guideline Range:                                            120       to 120   months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS
The 2007 edition of the Guidelines Manual (including May 1, 2008 Supplement - Amendment 706) was applied in the
original sentencing; therefore, there is no further reduction.



Except as provided above, all provisions of the judgment dated                       10/7/08            shall remain in effect.
IT IS SO ORDERED.

Order Date:          March 24, 2009


Effective Date: March 24, 2009
                       (if different from order date)

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